16 F.3d 411NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    William Lewis SMITH, Plaintiff-Appellant,v.Richard LANHAM;  John P. Galley, Warden;  E.G. Bowles;  Mr.Rugh;  Donald A. Swetter;  L. Lewis, Jr., M.D.;  CarlosRul-Lan, M.D.;  Tina Jackson, R.N.;  Lynda Summers, R.N.,Nurses of Correctional Medical Systems, Individually and intheir official capacities, Defendants-Appellees.
    No. 93-6929.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 16, 1993.Decided Jan. 11, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge (CA-93-587).
      William Lewis Smith, Appellant Pro Se.
      D.Md.
      DISMISSED.
      Before HALL and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with  Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we deny leave to proceed in forma pauperis and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    